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                      UNITED STATES DISTRICT COURT
                                FOR THE
                     WESTERN DISTRICT OF WISCONSIN


Lewis Edward Byrd, III,                            Civil Action No: 17-CV-191-JDP

       Plaintiff,

v.                                                      AFFIDAVIT OF JASON R.
                                                                  PROCHNOW
Brandon Arenz,

       Defendant.

STATE OF MINNESOTA                     )
                                       ) ss.
COUNTY OF HENNEPIN                     )


      Jason R. Prochnow, being first duly sworn upon oath, states and alleges as
follows:

      1.     I am one of the attorneys representing Defendant Brandon Arenz in

the above-entitled matter. I submit this Affidavit in opposition to Plaintiff’s motion

seeking an extension of the deadline for responding to the motion for summary

judgment.

      2.     The Court issued its Preliminary Pretrial Conference Order on June

26, 2017.

      3.     At no point before or after June 26, 2017 has Plaintiff served any

discovery requests on Defendant, through Defendant's counsel or otherwise.
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FURTHER YOUR AFFIANT SAYETH NAUGHT.

                                          s/Jason R. Prochnow
                                          Jason R. Prochnow


Subscribed and sworn to before me
this 13th day of December, 2017.


s/Peggy Chapman
Notary Public
My Commission Expires Jan. 31, 2020




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